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       AO 91 (Rev. ll/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                                                                    aRiGi~~~.
                                                 Central District of California

       United States of America

                        v.

       SHANT GHANIAN,
                                                                       Case No.
       SILVA SEVLIAN GHANIAN
        aka "Silva Sevlian,"

                       Defendants
                                                                                   19M~Q156
                                               CRIMINAL COMPLAINT

              I,the complainant in this case, state that the following is true to the best of my knowledge and belief.

      Between in or about July 2013 and September 2018, in the county of Los Angeles in the Central District of

      California, the defendants violated:

                Code Section                                          Offense Description

                18 U.S.C. § 1343                                      Wire Fraud

              This criminal complaint is based on these facts:

              Please see attached affidavit.

              D Continued on the attached sheet.
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                  ``                                                               Complainant's signature
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' worn to ford~~an signed in my presence.
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 Date:   ~ _ry i-
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                                                                                      Judge's

       City and state: Los Angeles, California                         Hon. Karen Stevenson, U.S. Magistrate Judge
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       I, Jeremy M. O'Hara, being duly sworn, declare and state as

follows:

                            I.   INTRODUCTION

       1.   I am a Senior Special Agent (~~SSA") with the United

States Department of Homeland Security ("DHS"), Immigration and

Customs Enforcement ("ICE"), Office of Professional

Responsibility (`~OPR"), where I investigate matters concerning

employee misconduct, bribery involving ICE employees,

individuals who impersonate ICE employees, and individuals who

commit violations that injure or discredit the reputation of

ICE.    I am assigned to the Office of the Special Agent in

Charge- West ("SAC West"), located in Long Beach, California.

       2.   I have been assigned to SAC West since on or about May

31, 2016, and have participated, as both the case agent and a

supporting agent, in a variety of different types of

investigations, such as: employee misconduct, sexual battery,

stolen government property, federal firearms violations,

financial investigations, and impersonation of a federal

employee.

       3.   Previously, I served as a Homeland Security

Investigations ("HSI") Special Agent ("SA"), beginning in

December 2008.    While assigned to HSI, I participated in

numerous criminal investigations as either the case agent or an

investigating agent.     In particular, I participated in various

aspects of criminal investigations, including: wiretapping

telephones, telephone records analysis, electronic surveillance,



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physical surveillance, search warrants, and arrests.           I also

interviewed defendants, sources of information, confidential

informants, and witnesses who had personal knowledge regarding

criminal organizations and methodology.

     4.      To become a SA, I received approximately three months

of basic training, followed by approximately three months of

advanced training at the Federal Law Enforcement Training Center

("FLETC")      After arriving at HSI, I successfully completed a

two-year, on-the-job training program.        I have been involved in

numerous investigations concerning violations of federal

statutes related to financial crimes.        I have also spoken to

numerous law enforcement agents regarding their experience in

investigating financial criminal offenses.

                       II. PURPOSE OF AFFIDAVIT

     5.      This affidavit is made in support of a criminal

complaint against, and arrest warrants for, SHANT GHANIAN

(~~OHANIAN") and SILVA SEVLIAN GHANIAN, also known as ~~Silva

Sevlian" ("SEVLIAN"), for a violation of 18 U.S.C. ~ 1343 (wire

fraud).

     6.      The facts set forth in this affidavit are based upon

m y personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

arrest warrant and does not purport to set forth all of my

knowledge of or investigation into this matter.          Unless

specifically indicated otherwise, all conversations and
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statements described in this affidavit are related in substance

and in part only.

                    III. SiJNIlKARY OF PROBABLE CAUSE

     7.    Law enforcement agents began investigating GHANIAN in

mid-February 2017, after the United States Attorney's Office for

the Central District of California received a referral from

Investigator Benson Hom of the State Bar of California (the

~~State Bar"), in which Investigator Hom indicated GHANIAN may

have committed violations of federal law as part of a scheme to

defraud his legal clients.      GHANIAN became a licensed member of

the California State Bar in January 2012 and was disbarred in

December 2017.

     8.    During the course of my investigation, I have

identified numerous victims who reported that they retained

GHANIAN as their attorney to represent them in various types of

legal matters.    The victims reported that GHANIAN defrauded them

b y claiming that GHANIAN obtained favorable legal resolutions

for his clients when, in fact, GHANIAN had not obtained

favorable resolutions and, in many cases, had never initiated a

legal action.    My investigation has also revealed that SEVLIAN

(OHANIAN's wife) participated in the scheme with GHANIAN by

delivering fraudulent legal documents to a victim and making

disguised phones calls to multiple victims to perpetuate the

fraudulent scheme.




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     9.    During a consensual interview I conducted with

GHANIAN, GHANIAN admitted to defrauding multiple victims,

including Victimsl 7 and 8.z

                    IV. STATEMENT OF PROBABLE CAUSE

     A.    Wire Fraud Involving Victim 7

     10.   The information described below was, in part, obtained

from documents and statements Victim 7 provided to the Los

Angeles Sheriff's Department and the State Bar.          I also

interviewed Victim 7 on multiple occasions.

     11.   On or about September 15, 2017, Victim 7 reported to

the Los Angeles Sheriff's Department that Victim 7 had retained

GHANIAN as an attorney in a civil real estate matter and that

GHANIAN had defrauded Victim 7 by fraudulently requiring Victim

7 to pay over $2 million to GHANIAN in nonexistent fees related

to the real estate transaction.

     12.   Victim 7 reported that Victim 7 retained GHANIAN in

July 2013 to assist Victim 7 in the recovery of a deposit of

$500,000 related to a failed commercial real estate transaction

for a shopping center in Ontario, California (the "Shopping

Center")    After being retained, GHANIAN represented Victim 7 in

a deposition related to the matter.        Following the deposition,

GHANIAN falsely informed Victim 7 in February 2016 that Victim 7




     1 The numbering system for victims corresponds to other
pleadings the government anticipates filing in this matter.
This pleading discusses only four of OHANIAN's multiple fraud
schemes for which I have uncovered evidence, and thus only
references Victims 5, 6, 7, and 8.
     2 GHANIAN claimed, however, that his wife SEVLIAN was not
involved in his fraudulent conduct.


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had prevailed and would receive $1.2 million in damages, plus

penalties in matter related to the Shopping Center.

     13.   On or about February 5, 2016, GHANIAN presented Victim

7 with a counterfeit check for approximately $1,925,477, which

Victim 7 attempted to negotiate but the bank rejected as

counterfeit.    GHANIAN denied to Victim 7 that the check was

counterfeit and, on or about March 25, 2016, GHANIAN presented

Victim 7 with a check for $7,244,211.45, which Bank of America

later confirmed to me was counterfeit.

     14.   During the course of the purported representation,

GHANIAN falsely informed Victim 7 that GHANIAN represented

Victim 7 in a parallel bankruptcy proceeding related to the

Shopping Center.    Victim 7 reported that GHANIAN provided Victim

7 with numerous pleadings purporting to be from the U.S.

Bankruptcy Court and that GHANIAN used these pleadings to

solicit additional funds from Victim 7 that GHANIAN represented

were necessary for Victim 7 to acquire the Shopping Center.

     15.   In or around April 2017, while Victim 7 was traveling

in Florida and the Bahamas, defendant, who was located in

California, called Victim 7 by telephone and instructed Victim 7

to pay "unpaid court fees" to defendant even though Victim 7

owed no such court fees.

     16.   Victim 7 reported that on two or three occasions, an

Armenian female delivered documents purportedly from the U.S.

Bankruptcy Court to Victim 7 at Victim 7's residence.           I

confirmed with the U.S. Bankruptcy Court that the documents that

were delivered to Victim 7 were fraudulent.         Some of the



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fraudulent court documents included documents with the signature

of a real U.S. Bankruptcy Judge, which I confirmed with the

Judge were forged.     On or about February 13, 2018, I interviewed

Victim 7 and presented Victim 7 with a photographic lineup of 12

females on two sheets of paper.       Victim 7 made a written

notation of "I believe the person who delivered bankruptcy

contract document" next to the photograph that I knew to depict

SEVLIAN.   Victim 7 reported that the individual he identified

delivered fraudulent bankruptcy documents to Victim 7 on

multiple occasions.     In addition, on June 20, 2018, Victim 7

reported to me that after the February 13, 2018, interview,

Victim 7 saw a Facebook photo of SEVLIAN3 and confirmed that

SEVLIAN was the courier who delivered fraudulent documents from

the U.S. Bankruptcy Court to Victim 7 on multiple occasions.

     17.   Victim 7 also reported receiving multiple calls from a

female who claimed to be the court clerk for the U.S. Bankruptcy

Judge purportedly assigned to hear Victim 7's bankruptcy matter

(the "Clerk").    The Clerk called from a number that showed up on

Victim 7's "called ID" as a number affiliated with the U.S.

Bankruptcy Court.    The Clerk instructed Victim 7 to pay GHANIAN.

Victim 7 further reported that on three occasions GHANIAN drove

Victim 7 to a purported hearing in the U.S. Bankruptcy Court.

During each car ride, GHANIAN received a telephone call, which

GHANIAN answered using the car's speaker system.          In each of



     3 Victim 7's son knew SEVLIAN through mutual friends while
attending a graduate school program. Victim 7's son showed
Victim 7 a photograph of SEVLIAN through the son's Facebook
account.
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those calls, Victim 7 heard the Clerk inform GHANIAN the court

was busy with another case and would not have time to hear

Victim 7's case.    After each call, GHANIAN would return Victim 7

to Victim 7's residence before reaching the U.S. Bankruptcy

Court.

     18.   On an unknown date after September 2017, GHANIAN

called Victim 7's cellular telephone and GHANIAN had Victim 7

speak with SEVLIAN.     Victim 7 reported to me that he immediately

recognized SEVLIAN's voice as the voice of the Clerk.           During

that call, SEVLIAN discouraged Victim 7 from reporting GHANIAN

to law enforcement and SEVLIAN told Victim 7 his money would be

returned from a foreign country.        During that same call, Victim

7 confronted GHANIAN and told GHANIAN that Victim 7 knew SEVLIAN

was the Clerk.    GHANIAN insisted to Victim 7 that SEVLIAN was

not the Clerk.    GHANIAN reminded Victim 7 that GHANIAN had kids

and begged Victim 7 not to involve SEVLIAN.         GHANIAN claimed to

Victim 7 that GHANIAN was the Clerk and that he had disguised

his voice as a female's voice during the calls from the Clerk.

I am aware that this explanation is inconsistent with GHANIAN

receiving calls from the Clerk while in the presence of Victim

7, as described above.

     19.   On September 6, 2018, I conducted a consensual,

Mirandized interview of GHANIAN at the ICE OPR Office in Long

Beach, California, which I audio and video recorded (the

~~September 2018 Interview")      During that interview, GHANIAN

admitted he provided Victim 7 with numerous counterfeit

documents from the U.S. Bankruptcy Court as well as other



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financial institutions.      GHANIAN stated he found many of the

signatory names and the letterhead he utilized on the Internet.

     20.    GHANIAN admitted all checks given to Victim 7 were

counterfeit and stated that he produced the counterfeit checks

on his computer, using routing numbers GHANIAN located on the

Internet.    GHANIAN admitted to stealing over $2 million from

Victim 7.

     21.    GHANIAN admitted that he directed SEVLIAN to deliver

fraudulent documents to Victim 7 on one occasion but otherwise

denied that SEVLIAN was involved in the fraudulent conduct

targeting Victim 7.     GHANIAN claimed that the individual who

called Victim 7 as the Clerk was OHANIAN's sister and that his

sister only called on the occasions when GHANIAN was in the car

with Victim 7.    GHANIAN claimed he used a voice disguiser for

the remaining calls from the Clerk.        I know this explanation to

be inconsistent with Victim 7 reporting that the Clerk who

called Victim 7 directly on multiple occasions had the same

voice as the individual who called GHANIAN during the purported

trips to the U.S. Bankruptcy Court, and Victim 7 recognized

SEVLIAN as the voice on the calls to Victim 7.

     B.     Wire Fraud Involving Victims 5 and 6

     22.    In or about January 2015, defendant agreed to

represent Victim 5 and 6 in a commercial dispute between the

company owned by Victims 5 and 6 ("Company A") and a foreign

company ("Company B").

     23.    Company B filed an arbitration claim against Company A

in December 2014, claiming damages of $1,093,300.          Victims 5 and



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6 retained defendant to respond to the arbitration claim, which

defendant falsely claimed to Victims 5 and 6 he did.

        24.   In June 2016, defendant provided Victims 5 and 6 with

a counterfeit letter purportedly sent by the U.S. Department of

Justice, Office of Legal Policy, Office of Foreign Civil

Affairs, California Division, indicating that an action had been

filed on Company A's behalf.       As part of this purported action,

defendant required Victims 5 and 6 to pay $90,000 in "bonds" to

GHANIAN that defendant falsely claimed were required to proceed.

        25.   Between approximately early 2017 and early 2018,

defendant falsely promised that Victims 5 and 6 would receive a

judgment in their favor in the amount of $3 million.           In an

effort to conceal his lies, defendant provided Victims 5 and 6

with counterfeit wire transfer receipts indicating purported

judgment money had been transferred to Victims 5 and 6, when, in

fact, Victims 5 and 6 never received the purported wire

transfers.

        C.    Analysis of "Spoofed" Call Records

        26.   "Spoofing" is an industry term referring to the

utilization of a computer to alter the caller identification

number displayed on a receiver's handset to display another

telephone number provided by the initiator of the telephone

call.    I am aware that there are multiple online companies

offering spoofing services in which a user can use a phone-based

application or the website to make a spoofed call.

     27.      I obtained business records from spoofing call

services Bluff My Call and SpoofCard, which were both used as



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part of the fraudulent scheme.        I found evidence that spoofed

calls made to victims of the fraudulent scheme were also made

using Itellas Communications but I have been unable to obtain

records from Itellas Communications to date.

     28.   A review of the spoofed call records obtained to date

revealed the following:

           a.     Approximately 80 spoofed calls to Victim 7

originated from a cell phone number that GHANIAN used to contact

me on multiple occasions and that GHANIAN admitted to me was the

number he used.

           b.     The cellular phone number ending in -4318

(~~SEVLIAN's Number") made at least two spoofed calls to GHANIAN.

On or about September 13, 2018, I spoke to SEVLIAN on SEVLIAN's

Number and Victim 7's son also reported to me that he had a

conversation with SEVLIAN on SEVLIAN's Number.

           c.     SEVLIAN's Number made a spoofed call to Victim 6,

in which the call appeared to originate from a number associated

with U.S. Bank.

           d.     SEVLIAN's Number made a spoofed call to another

victim (Victim 8) who resides in the Netherlands.          The call to

Victim 8 appeared to originate from a number associated with the

Chase Bank Fraud Department.      During the September 2018

Interview, GHANIAN admitted that he defrauded Victim 8.           Based

on the foregoing, I believe it is likely that SEVLIAN also

participated in defrauding Victim 8.

           e.   Approximately 1 spoofed call to Victim 7

originated from a cell phone number ending in -5314 (the "5314



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Number").     The call appeared to originate from a number

associated with the U.S. District Court for the Central District

of California.     I later spoke to SEVLIAN's mother and determined

that the 5314 Number was the number of SEVLIAN's mother's cell

phone.     Based upon my investigation to date, including my

interview of SEVLIAN's mother, I believe SEVLIAN's mother had no

role in the commission of the fraud scheme but instead SEVLIAN

or GHANIAN used SEVLIAN's mother's cell phone to further

disguise their roles in the fraudulent scheme.

            f.   The 5314 Number also made approximately two

spoofed calls to Victim 6, in which the call appeared to

originate from a number associated with the Los Angeles County

Hall of Records.

                             V.   CONCLUSION

     29.    For all the reasons described above, there is probable

cause to believe that SHANT GHANIAN and SILVA SEVLIAN GHANIAN

have committed a violation of 18 U.S.C. § 1343 (wire fraud)




                                           r y M. O'Hara, Senior
                                         Special Agent, ICE/OPR

Subscribed to and sworn fore me
this  /~~ day of~~rn~19.




HONgRABLE KAREN S~EVENSON
UNT_TED STATES MAGISTRATE JUDGE




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